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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    HONX, INC.,1                                                     ) Case No. 22-90035 (MI)
                                                                     )
                             Debtor.                                 )
                                                                     )

            FIFTH MONTHLY FEE STATEMENT OF AKIN GUMP STRAUSS
         HAUER & FELD LLP FOR COMPENSATION FOR SERVICES RENDERED
         AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
             COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
              FROM SEPTEMBER 1, 2022 THROUGH SEPTEMBER 30, 2022


                   In accordance with the Order (I) Establishing Procedures for
                   Interim Compensation and Reimbursement of Expenses for
                   Professionals, and (II) Granting Related Relief [ECF No. 180],
                   each Application Recipient receiving notice of this monthly fee
                   statement shall have until 4:00 p.m. (CT), 21 days after service
                   of this monthly fee statement to object to the fees and expenses
                   requested herein. Upon the expiration of such 21-day period,
                   the Debtor is authorized and directed to pay 80% of the fees and
                   100% of the expenses requested in this monthly fee statement
                   that are not subject to an objection.




1
  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is HONX, Inc. (2163). The location of the Debtor’s service address in this chapter 11 case is: 1501 McKinney Street,
Houston, Texas, 77010.
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    Name of Professional:                                                    Akin Gump Strauss Hauer & Feld LLP
    Authorized to Provide Professional Services to:                     Official Committee of Unsecured Creditors
    Date Order of Employment Signed:                                  July 18, 2022, nunc pro tunc to May 21, 2022
                                                                                                     [ECF No. 210]
    Time Period Covered:                                                  September 1, 2022 – September 30, 2022
    Total Fees Sought:                                                                               $1,035,397.502
    Amount of retainer received in case:                                                                        N/A
    Total professional fees covered by this statement:                                                $1,019,974.00
    Total professional hours covered by this statement:                                                      834.80
    Average hourly rate for professionals:                                                                $1,148.13
    Total paraprofessional fees covered by this statement:                                               $15,423.50
    Total paraprofessional hours covered by this statement:                                                   35.80
    Average hourly rate for paraprofessionals:                                                              $432.50
    Reimbursable expenses sought in this statement:                                                      $10,409.82
    Payment requested:
                     80% Fees                                                                          $828,318.00
                     100% Expenses                                                                       $10,409.82
                     Total:                                                                            $838,727.82



           Pursuant to sections 330 and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule

2016-1 of the Bankruptcy Local Rules of the United States Bankruptcy Court for the Southern

District of Texas (the “Bankruptcy Local Rules”), the Order (I) Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Retained Professionals, and

(II) Granting Related Relief [ECF No. 180] (the “Interim Compensation Order”), and the Order

Authorizing the Official Committee of Unsecured Creditors of HONX, Inc. to Retain and Employ



2
  The total fees sought in this Fifth Monthly Fee Statement reflect a voluntary reduction of $37,567.50, including
substantially all fees incurred by professionals and paraprofessionals who provided fewer than five (5) hours of
services during the Fee Period (defined below), as well as other voluntary reductions. Such fees are excluded from
the exhibits and the summary tables included herein, and Akin Gump will not seek allowance of such fees in its interim
or final fee applications. For the avoidance of doubt, the foregoing fee reductions are purely voluntary and not based
on any determination that such fees are not appropriate or compensable.

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Akin Gump Strauss Hauer & Feld LLP as Counsel, Effective as of May 21, 2022 [ECF No. 210],

the law firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”), as counsel to the Official

Committee of Unsecured Creditors (the “Committee”) appointed in this chapter 11 case, hereby

submits this Fifth Monthly Fee Statement of Akin Gump Strauss Hauer & Feld LLP for

Compensation for Services Rendered and Reimbursement of Expenses as Counsel to the Official

Committee of Unsecured Creditors for the Period from September 1, 2022 to September 30, 2022

(the “Fifth Monthly Fee Statement”). By the Fifth Monthly Fee Statement and pursuant to the

Interim Compensation Order, Akin Gump seeks interim payment of (i) $828,318.00 (80% of

$1,035,397.50) as compensation for professional services rendered to the Committee and

(ii) $10,409.82 for reimbursement of actual and necessary expenses, for a total of $838,727.82 for

the period from September 1, 2022 through and including September 30, 2022 (the “Fee Period”).

Pursuant to the Interim Compensation Order, the Application Recipients have until 4:00 p.m. (CT)

on the twenty-first day following service of this Fifth Monthly Fee Statement to object to the

requested fees and expenses.

                   Itemization of Services Rendered and Expenses Incurred

       1.      In support of this Fifth Monthly Fee Statement, attached are the following exhibits:

                  Exhibit A is a schedule of the number of hours expended and fees incurred (on
                   an aggregate basis) by Akin Gump partners, counsel, associates, consultants
                   and paraprofessionals during the Fee Period with respect to each of the subject
                   matter categories Akin Gump established in accordance with its internal billing
                   procedures. As reflected in Exhibit A, Akin Gump incurred $1,035,397.50 in
                   fees during the Fee Period. Pursuant to this Fifth Monthly Fee Statement, Akin
                   Gump seeks compensation in the amount of $828,318.00 or 80% of such fees.

                  Exhibit B is a schedule providing certain information regarding the Akin Gump
                   attorneys and paraprofessionals for whose work on this chapter 11 case
                   compensation is sought in this Fifth Monthly Fee Statement. Attorneys and
                   paraprofessionals of Akin Gump expended a total of 870.60 hours in connection
                   with this chapter 11 case during the Fee Period.



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                 Exhibit C is a schedule setting forth the amount sought with respect to each
                  category of expenses for which reimbursement is sought in this Fifth Monthly
                  Fee Statement. This Fifth Monthly Fee Statement seeks reimbursement of
                  expenses in the aggregate total amount of $10,409.82.

                 Exhibit D consists of Akin Gump’s detailed records of fees and expenses
                  incurred during the Fee Period in rendering professional services to the
                  Committee.

                                       Representations

       2.     Although Akin Gump has used its reasonable best efforts to include all fees and

expenses incurred in the Fee Period, some fees and expenses might not be included in this Fifth

Monthly Fee Statement due to delays caused by accounting and processing during the Fee Period.

Akin Gump reserves the right to seek payment of such fees and expenses not included herein.

Subsequent monthly fee statements will be submitted in accordance with the Bankruptcy Code,

the Bankruptcy Rules, the Bankruptcy Local Rules and the Interim Compensation Order.



                         [Remainder of page intentionally left blank.]




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Dated: November 18, 2022           Respectfully Submitted,

                                   AKIN GUMP STRAUSS HAUER & FELD LLP

                                    /s/ Marty L. Brimmage, Jr.
                                    Marty L. Brimmage, Jr. (State Bar No. 00793386;
                                    S.D. Tex. 30464)
                                    2300 N. Field Street, Suite 1800
                                    Dallas, TX 75201-2481
                                    Telephone: (214) 969-2800
                                    Facsimile: (214) 969-4343
                                    Email: mbrimmage@akingump.com

                                    -and-

                                    Arik Preis (admitted pro hac vice)
                                    Mitchell P. Hurley (admitted pro hac vice)
                                    Sara L. Brauner (admitted pro hac vice)
                                    Theodore James Salwen (admitted pro hac vice)
                                    One Bryant Park
                                    New York, NY 10036-6745
                                    Telephone: (212) 872-1000
                                    Facsimile: (212) 872-1002
                                    Email: apreis@akingump.com
                                    Email: mhurley@akingump.com
                                    Email: sbrauner@akingump.com
                                    Email: jsalwen@akingump.com

                                   Counsel to the Official Committee of Unsecured
                                   Creditors of HONX, Inc.




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                              CERTIFICATE OF SERVICE

       I certify that on November 18, 2022, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                        /s/ Marty L. Brimmage, Jr.
                                                        Marty L. Brimmage, Jr.
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                                             EXHIBIT A

          Summary of Hours Expended and Fees Incurred by Project Category




Matter                                                                        Total Hours      Total Fees
          Matter Description
Number                                                                              Billed     Requested
  2       Case Administration                                                        4.50       $2,195.00
  3       Akin Gump Fee Application/Monthly Billing Reports                         42.60      $36,990.50
  4       Analysis of Other Professionals Fee Applications/Reports                   8.90       $5,041.00
  6       Retention of Professionals                                                 0.90       $1,208.00
  7       Creditors Committee Matters/Meetings (including 341 Meetings)            448.00     $542,759.50
  8       Hearings and Court Matters/Court Preparation                              10.10      $14,276.00
  12      General Claims Analysis/Claims Objections                                327.70     $394,960.00
  16      Automatic Stay Issues                                                      9.60      $15,955.00
          Adversary Proceedings (including Preliminary Injunction
  17                                                                                 0.70         $868.00
          Motion and TRO)
  21      Exclusivity                                                               17.60      $21,144.50
                                                                     Totals        870.60    $1,035,397.50
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                                         EXHIBIT B

                  Summary of Timekeepers Included in Fee Period

              Key: FRS = Financial Restructuring; COR = Corporate; LIT = Litigation


                                            BAR
      TIMEKEEPER               DEPT.                        RATE        HOURS         AMOUNT
                                          ADMISSION
                                          PARTNERS
PREIS, ARIK                      FRS          2001         $1,775.00       68.50       $121,587.50
BRAUNER, SARA L.                 FRS          2011         $1,400.00      129.80       $181,720.00
HURLEY, MITCHELL P.              LIT          1997         $1,775.00       83.10       $147,502.50
SCOTT, ELIZABETH M.              LIT          2007         $1,245.00       31.90        $39,715.50
BRIMMAGE, MARTY L., JR           LIT          1995          $1775.00        6.70        $11,892.50
                                       SENIOR COUNSEL
PORTER, KATHERINE P.             LIT          2011         $1,240.00       22.60        $28,024.00
                                          COUNSEL
SALWEN, JAMES                    FRS          2017         $1,095.00      208.50       $228,307.50
DOORLEY, KATE                    FRS          2012         $1,225.00       59.20        $72,520.00
PARLAR, ERIN E.                  LIT          2015         $1,190.00       14.20        $16,898.00
                                         ASSOCIATES
DOSS, MALAK                      FRS          2020           $880.00       52.10        $45,848.00
CARRILLO, C. ALAN                FRS          2018           $880.00       37.00        $32,560.00
LEGGIERO, ANGELINE C.            FRS          2022           $710.00       42.30        $30,033.00
BELEGU, MEGI                     LIT          2020           $840.00       36.40        $30,576.00
GARRETT, JEN                     LIT          2016         $1,025.00       10.30        $10,557.50
LEIGHTON, TAYLOR                 FRS          2022           $710.00       26.20        $18,602.00
STANLEY, MICHAEL                 LIT          2022           $605.00        6.00         $3,630.00
                                   PARAPROFESSIONALS
KEMP, BRENDA R.                  FRS            --           $420.00       20.30         $8,526.00
SLAVIN, RISA J.                  LIT            --           $445.00       15.50         $6,897.50
        TOTALS                                                            870.60      $1,035,397.50
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                                      EXHIBIT C

                     Summary of Expenses for the Fee Period



 Expense Category                                             Amount ($)
 Computerized Legal Research - Lexis - In Contract 30%
                                                                 $761.84
 Discount
 Computerized Legal Research – Courtlink – In Contract
                                                                 $374.45
 50% Discount
 Computerized Legal Research - Westlaw - In Contract 30%
                                                               $9,011.85
 Discount

 Computerized Legal Research – Lexis – out of contract            $56.50


 Meals – Overtime                                                 $21.53


 Meals –Business                                                  $58.79


 Overtime – Secretarial                                           $37.31


 Travel – Ground Transportation                                   $87.55


 TOTAL                                                        $10,409.82
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                             EXHIBIT D

             Detailed Description of Services and Expenses
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 HONX, INC. OFFICIAL COMMITTEE OF UNSECURED CREDITORS                                                           Invoice Number   2015416
 900 JACKSON STREET                                                                                             Invoice Date     11/17/22
 STE. 500                                                                                                       Client Number     105465
 DALLAS, TX 75202                                                                                               Matter Number        0001
 ATTN: WARREN T BURNS




Re: RESTRUCTURING




FOR PROFESSIONAL SERVICES RENDERED:

MATTER SUMMARY OF TIME BILLED BY TASK :
                                                                   HOURS                    VALUE
0002    Case Administration                                           4.50                 $2,195.00
0003    Akin Gump Fee Application/Monthly                            42.60                $36,990.50
        Billing Reports
0004    Analysis of Other Professionals Fee                             8.90                $5,041.00
        Applications/Reports
0006    Retention of Professionals                                     0.90                $1,208.00
0007    Creditors Committee Meetings/Meetings                        448.00              $542,759.50
        (including 341 Meetings)
0008    Hearings and Court Matters/Court                              10.10               $14,276.00
        Preparation
0012    General Claims Analysis/Objections                           327.70              $394,960.00
        (including Estimation, DOJ Settlement)
0016    Automatic Stay Issues                                           9.60              $15,955.00
0017    Adversary Proceedings (including                                0.70                $868.00
        Preliminary Injunction Motion and TRO)
0021    Exclusivity                                                   17.60               $21,144.50

                                              TOTAL                  870.60            $1,035,397.50




                        One Bryant Park | New York, NY 10036 | 212.872.1000 | fax 212.872.1002 | www.akingump.com
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Date         Tkpr                                                                             Hours
09/01/22     MPH     Attend portion of mediation session.                                      6.90
09/01/22     EMS     Draft insert for motion to dismiss (6.7); correspondence with FR          9.20
                     and litigation team members regarding same (.6); revise updated
                     draft insert for same (1.9).
09/01/22     SLB     Correspondence with members of FR and lit teams re motion to              1.70
                     dismiss (.3); analyze issues re same (.6); review recent filings (.5);
                     review update correspondence to UCC (.3).
09/01/22     SLB     Review and revise statement re exclusivity (1.1); analyze issues re       1.40
                     same (.3).
09/01/22     SLB     Analyze mediation and related claims issues (.3); review research         1.10
                     analysis re same (.5); correspondence with FR team members re
                     same (.3).
09/01/22     EYP     Attend mediation session.                                                10.50
09/01/22     KND     Review and comment on exclusivity statement.                              1.00
09/01/22     KND     Review mediation research findings (.5); correspondence with FR           0.90
                     team members re same (.4).
09/01/22     EEP     Draft discovery requests in connection with claims analysis (1.0);        2.00
                     analyze filings in connection with same (.9); correspondence re
                     same with M. Belegu (.1).
09/01/22     MB      Draft discovery requests in connection with claims issues (.8);           4.30
                     correspondence with E. Parlar re same (.2); conduct research in
                     connection with estimation (3.0); summarize same (.3).
09/01/22     TJS     Review invoice re privileged/confidential material and compliance         0.30
                     with fee guidelines.
09/01/22     TJS     Revise Motion to Dismiss (4.5); correspondence with members of            5.70
                     FR and lit teams re same (.4); review materials re case discovery
                     (.8).
09/01/22     TJS     Attend mediation telephonically (partial) (.8); correspondence            4.90
                     with members of FR team re mediation research (.7); review work
                     product re same (2.4); call with M. Doss re same (.4); call with A.
                     Carrillo and M. Doss re same (.2); review draft estimation
                     objection (.4).
09/01/22     CAC     Correspondence to J. Salwen re fee tracker.                               0.10
09/01/22     CAC     Conduct research in connection with open mediation issues (2.1);          3.90
                     call with J. Salwen and M. Doss re same (.2); correspondence with
                     FR team members re same (.2); conduct research in connection
                     with draft estimation claims objection (1.4).
09/01/22     MSD     Conduct extensive research re mediation issues (6.4); call with J.        7.30
                     Salwen and A. Carrillo re same (.2); call with J. Salwen re same
                     (.4); correspondence with FR team members re same (.3).
09/01/22     MSD     Revise UCC statement re exclusivity motion.                               0.40
09/02/22     MPH     Attend portion of mediation (3.0); review materials in advance of         4.30
                     same (1.3).
09/02/22     BRK     Update detailed case calendar (.4); circulate calendar invites re         1.20
                     same (.3); monitor docket and circulate daily updates to attorney
                     team (.4).
09/02/22     BRK     File CNOs re fee statements (.9); circulate filed copies to attorney      3.90
                     team (.1); update docket folder (.1); confer with A. Carrillo re
                     preparing fee tracker (.1); prepare same (2.7).
09/02/22     KPP     Review case law re claims analysis (1.5); comment on same (2.2).          3.70
09/02/22     SLB     Review internal correspondence among members of FR and Lit                1.80
                     teams re open work streams and related issues (.5); review
                     materials re same (.8); review recent filings (.5).
09/02/22     EYP     Attend mediation.                                                         4.50
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Date         Tkpr                                                                         Hours
09/02/22     KND     Revise draft estimation objection (2.1); review mediation updates     2.70
                     (.6).
09/02/22     EEP     Draft discovery requests in connection with claims analysis (1.0);    3.00
                     analyze draft estimation objection in connection with same (1.7);
                     correspondence with M. Belegu re same (.3).
09/02/22     MB      Conduct research in connection with estimation objection (2.5);       2.70
                     correspondence with E. Parlar re same (.2).
09/02/22     TJS     Coordinate filing of CNOs re monthly fee applications.                0.30
09/02/22     TJS     Review (2.3) and comment on (2.7) draft estimation objection;         5.50
                     correspondence with FR team members re same (.5).
09/02/22     TJS     Correspondence to FR and lit team members re Motion to Dismiss        5.90
                     (.8); incorporate updated inserts re same (2.1); draft additional
                     material re same (1.3); review materials re same (1.7).
09/02/22     CAC     Revise fee tracker draft for estate-retained professionals (.7);      0.80
                     confer with B. Kemp re same (.1).
09/02/22     CAC     Conduct research re estimation claims estimation issues (3.4);        3.60
                     correspondence with FR team members re same (.2).
09/02/22     MSD     Prepare CNOs re Akin and Province first monthly fee statements        1.10
                     (.6); review Court procedures and interim compensation order in
                     connection with same (.3); draft correspondence to members of
                     FR team re same (.2).
09/02/22     MSD     Conduct research in connection with estimation objection (2.0);       2.40
                     revise estimation objection accordingly (.3); correspondence with
                     FR team members re same (.1).
09/03/22     KPP     Revise discovery requests (1.4); correspondence with E. Parlar re     1.60
                     estimation issues (.2).
09/03/22     SLB     Review revised MTD (1.4); correspond with FR and lit team             1.50
                     members re same (.1).
09/03/22     SLB     Review draft objection re bar date (.7); correspondence with FR       0.90
                     team members re mediation (.2).
09/03/22     EYP     Provide comments on exclusivity statement.                            1.00
09/03/22     EYP     Call with mediator (.5); correspondence with FR team members re       2.00
                     mediation updates (.5); comment on bar date response draft (1.0).
09/03/22     EYP     Draft update correspondence to UCC (.7); communications with          1.00
                     UCC members re same (.3).
09/03/22     MLB     Review and analyze draft motion to dismiss (.8); correspond with      1.00
                     FR and lit team members re same (.2).
09/03/22     KND     Correspondence with FR team members re mediation issues.              0.30
09/03/22     KND     Review revisions to exclusivity statement.                            0.30
09/03/22     EEP     Revise discovery requests re estimation (1.3); correspondence         1.50
                     with K. Porter re same (.2).
09/03/22     MB      Revise MTD insert (1); correspondence with members of FR and          1.20
                     lit teams re same (.2).
09/03/22     TJS     Correspondence with FR and lit team members re Motion to              3.60
                     Dismiss (1.2); revise same (1.9); review materials re same (.5).
09/03/22     TJS     Review research analysis re estimation and conduct research re        6.40
                     same (3.0); comment on same (1.9); revise response to bar date
                     motion (1.3); correspondence with FR team members re mediation
                     (.2).
09/03/22     CAC     Review UCC update correspondence.                                     0.20
09/03/22     CAC     Draft limited objection to non-asbestos bar date motion (1.5);        2.80
                     revise same (.5); conduct research re estimation claims objection
                     (.8).
09/04/22     SLB     Correspondence with members of FR team re estimation and              1.40
                     related claims issues (.6); analyze same (.8).
09/04/22     EYP     Review and comment on MTD (.8); correspondence with K.                1.00
                     Doorley and J. Salwen re same (.2).
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Date         Tkpr                                                                           Hours
09/04/22     EYP     Comment on estimation objection (.5); correspondence with FR            1.50
                     team members re same (.5); call with Debtor’s counsel re
                     mediation (.5).
09/04/22     KND     Revise exclusivity statement (.8); correspondence with members          0.90
                     of FR team re same (.1).
09/04/22     KND     Revise estimation objection (3.2); correspondence with FR team          3.50
                     members re same (.3).
09/04/22     KND     Review revised motion to dismiss (1.1); correspond with A. Preis        1.20
                     and J. Salwen re same (.1).
09/04/22     EEP     Conduct research in connection with claims analysis.                    0.80
09/04/22     TJS     Further revise estimation objection (1.6); correspondence with          1.90
                     members of FR team re same (.3).
09/04/22     TJS     Correspondence with A. Preis and K. Doorley re Motion to                1.40
                     Dismiss (.2); analyze issues re same (1.2).
09/04/22     TJS     Review comments on exclusivity statement (.4); analyze issues re        0.80
                     same (.3); correspondence with FR team members re same (.1).
09/04/22     TJS     Review invoice re privileged/confidential material and compliance       0.90
                     with fee guidelines.
09/04/22     MSD     Correspondence with FR team members re UCC exclusivity                  0.10
                     statement.
09/05/22     EMS     Review briefing re Motions to Intervene in appeals (.2); draft reply    0.70
                     outline re same (.5).
09/05/22     KPP     Draft correspondence to Akin litigators re appeals and related          0.60
                     filings.
09/05/22     SLB     Review draft discovery requests (.8); correspondence with E.            0.90
                     Parlar re same (.1).
09/05/22     EEP     Revise discovery requests (.5); correspondence with S. Brauner re       0.60
                     same (.1).
09/05/22     TJS     Revise Motion to Dismiss (.6); review additional materials re           4.70
                     same (1.8); analyze draft discovery requests re multiple case work
                     streams (2.9).
09/06/22     MPH     Review mediation related materials.                                     3.20
09/06/22     MPH     Call with lit and FR team members re work streams and potential         0.60
                     discovery in connection with same.
09/06/22     BRK     Prepare fee application exhibits and backup.                            2.30
09/06/22     EMS     Call with M. Belegu regarding appeal intervention reply                 3.00
                     arguments and research (.3); review research regarding same (2.4);
                     analyze issues regarding same (.3).
09/06/22     KPP     Call with lit and FR team members re case work streams and              1.10
                     discovery questions (.6); correspondence with E. Parlar re same
                     (.5).
09/06/22     SLB     Revise statement re bar date (.5); correspondence with members of       1.30
                     FR team re same (.2); analyze issues re same (.6).
09/06/22     SLB     Review and comment on statement re exclusivity (.4);                    1.70
                     correspondence with members of FR team re same (.3); analyze
                     issues re same (.9); confer with M. Doss re same (.1).
09/06/22     SLB     Correspondence with members of FR team re motion to dismiss             3.90
                     case updates (.7); analyze issues re same (1.0); review materials re
                     same (.8); attend meeting with members of FR and Lit teams re
                     open work streams (.6); review materials to prep for same (.8).
09/06/22     EYP     Analyze mediation issues.                                               0.50
09/06/22     EYP     Call with FR and lit team members re case work streams and              2.10
                     related discovery (.6); review (.9) and comment on (.6) discovery
                     requests.
09/06/22     KND     Call with Akin FR and Akin Lit teams re case status and updates.        0.60
09/06/22     KND     Revise estimation objection.                                            1.80
09/06/22     KND     Review revised drafts of exclusivity statement (.3); comment on         0.90
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Date         Tkpr                                                                            Hours
                     same (.6).
09/06/22     EEP     Revise estimation discovery requests (.3); correspondence with K.        0.80
                     Porter re same (.3); correspondence with M. Belegu re estimation
                     issues (.2).
09/06/22     EEP     Call with FR and lit team members re multiple work streams and           0.80
                     case discovery (.6); correspondence with K. Porter re same (.2).
09/06/22     MB      Conduct research re estimation objection (2.8); draft insert for         3.20
                     same (.3); correspondence with E. Parlar re same (.1).
09/06/22     MB      Call with E. Scott re intervention reply (.3); conduct research for      0.90
                     same (.4); review materials re same (.2).
09/06/22     TJS     Correspondence with FR team members re estimation objection              3.10
                     (.7); review materials re same (1.1); revise bar date objection (.7);
                     correspondence with A. Carrillo re same (.2); analyze issues re
                     same (.4).
09/06/22     TJS     Analyze issues re proposed case discovery requests (.8); call with       3.30
                     FR and lit team members re same and other open work streams
                     (.6); correspondence with members of FR and lit teams re issues in
                     connection with Motion to Dismiss (.4); conduct additional
                     research re same (1.5).
09/06/22     TJS     Correspondence with FR team members re exclusivity statement             0.90
                     (.2); revise same (.7).
09/06/22     CAC     Review UCC update correspondence (.1); call with lit and FR              1.10
                     team members re open work streams and discovery issues (.6);
                     revise public calendar for creditors' website (.4).
09/06/22     CAC     Revise limited objection to bar date notice (.4); correspondence         0.80
                     with J. Salwen re same (.1); conduct research re estimation claims
                     objection issues (.2); correspondence with FR team members re
                     same (.1).
09/06/22     MSD     Revise UCC statement re exclusivity (.9); correspondence with            1.40
                     members of FR team re same (.4); confer with S. Brauner re same
                     (.1).
09/06/22     MSD     Correspondence to J. Salwen re fee statement preparation.                0.20
09/06/22     MSD     Attend call with members of Akin lit and FR teams re various             0.60
                     work streams.
09/06/22     MSD     Revise estimation objection (.5); correspondence with FR team            0.60
                     members re same (.1).
09/07/22     MPH     Correspondence with members of lit and FR teams re various               1.10
                     work streams (.4); review draft motion to dismiss (.7).
09/07/22     SLB     Review bar date issues (.2); review revised draft statement re same      1.90
                     (.3); analyze mediation issues (1.4).
09/07/22     SLB     Correspondence with members of FR and lit teams re case status           4.40
                     and open work streams (.8); review recent filings (.5); review
                     analysis re open case issues (1.6); review correspondence from A.
                     Preis to UCC members re same (.3); analyze recent precedent re
                     open case issues (1.2).


09/07/22     SLB     Correspondence with members of FR team re billing issues (.4);           0.70
                     attention to the same (.3).
09/07/22     KND     Review motion to dismiss (.8); correspondence with FR and lit            1.00
                     team members re same and other open work streams (.2).
09/07/22     KND     Revise estimation objection.                                             0.20
09/07/22     EEP     Analyze claims discovery issues.                                         0.10
09/07/22     MB      Conduct research for intervention reply (3); review filings in           4.50
                     connection with same (.5); draft intervention reply (1).
09/07/22     TJS     Review comments to estimation objection (.3); analyze issues re          3.60
                     same (.8); review underlying materials re same (2.5).
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09/07/22     TJS     Correspondence with FR team members re billing issues.                  0.20
09/07/22     TJS     Review public case calendar for UCC website (.2);                       2.50
                     correspondence with A. Carrillo re same (.1); correspondence with
                     FR and lit team members re motion to dismiss and related work
                     streams (.4); review Province comments re same (.3); analyze
                     issues re same (.6); review research re parallel cases (.9).
09/07/22     ACL     Correspondence with FR team members re August invoice and               0.80
                     related issues (.2); review August invoice for compliance with US
                     Trustee guidelines (.6).
09/07/22     CAC     Review UCC update correspondence (.1); revise case calendar for         0.30
                     UCC website (.2).
09/07/22     JSG     Revise insert for motion to dismiss.                                    5.90
09/08/22     EYP     Draft mediation update summary (1.0); analyze issues in                 1.50
                     connection with same (.5).
09/08/22     KND     Review mediation update summary.                                        0.20
09/08/22     MB      Draft intervention reply (2.4); revise motion to dismiss insert         4.90
                     (2.5).
09/08/22     TJS     Review invoice re privileged/confidential material and compliance       1.80
                     with fee guidelines.
09/08/22     TJS     Draft supplemental argument section for Motion to Dismiss.              1.10
09/09/22     MPH     Review mediation related materials.                                     1.30
09/09/22     MPH     Attend call with FR and lit team members re discovery in                1.00
                     connection with MTD (.2); review correspondence (.8).
09/09/22     KPP     Analyze claims discovery issues.                                        0.50
09/09/22     SLB     Review correspondence from Debtor re OCP motion and related             0.60
                     issues (.2); review materials re same (.4).
09/09/22     SLB     Review update correspondence to UCC (.2); review recent filings         0.90
                     (.7).
09/09/22     EYP     Prepare for (.3) and attend (.2) call with lit and FR team members      1.50
                     regarding discovery; call with W. Burns [Burns Charest] re case
                     updates (.4); call with Kirkland re various deadlines and discovery
                     issues (.6).
09/09/22     KND     Review open mediation issues.                                           0.10
09/09/22     EEP     Revise discovery requests (.8); correspondence re same with lit         1.40
                     and FR team members (.4); call re same with lit and FR team
                     members (.2).
09/09/22     TJS     Review invoice re privileged/confidential material and compliance       0.40
                     with fee guidelines.
09/09/22     TJS     Draft insert for Motion to Dismiss (1.4); call with W. Burns re         3.20
                     case discovery and related strategy issues (.4); correspondence
                     with FR and lit team members re same (.3); correspondence with
                     FR team members re upcoming filing deadlines and work in
                     preparation for same (.3); analyze issues re same (.6); call with FR
                     and lit team members re potential discovery (.2).
09/10/22     EMS     Revise draft reply in support of the motion to intervene (2.6);         3.40
                     review case law in support of same (.8).
09/10/22     TJS     Revise additional argument for Motion to Dismiss (1.2); review          1.60
                     materials in connection with same (.4).
09/11/22     SLB     Review revised draft of estimation objection.                           0.80
09/11/22     EYP     Review analysis in connection with motion to dismiss draft.             1.00
09/11/22     TJS     Revise Motion to Dismiss section.                                       0.80
09/12/22     MPH     Correspondence with lit and FR team members re estimation               2.20
                     objection (.4); review draft estimation objection (1.8).
09/12/22     MPH     Review motion to dismiss draft.                                         1.40


09/12/22     RS      Cite check motion to dismiss.                                           3.60
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Date         Tkpr                                                                            Hours
09/12/22     RS      Cite check objection to estimation.                                      3.60
09/12/22     BRK     Monitor docket and circulate daily docket update to attorney team        0.60
                     (.3); update detailed case calendar (.3).
09/12/22     EMS     Further revise draft reply brief re motion to intervene (2.7); review    3.70
                     additional research in support of same (1).
09/12/22     SLB     Review correspondence re OCP motion and related order between            0.20
                     A. Preis and Kirkland team.
09/12/22     SLB     Analyze issues re claims and estimation (.8); review materials re        1.70
                     same (.7); correspondence with lit and FR team members re same
                     (.2).
09/12/22     SLB     Review update correspondence to UCC (.2); review recent filings          4.30
                     (.4); analyze issues re motion to dismiss (1.1); correspondence
                     with members of Akin team re same (.2); review materials re same
                     (1.0); review and analyze developments in precedent cases in
                     connection with case strategy (1.4).
09/12/22     SLB     Correspondence with members of FR team re UCC professionals'             0.30
                     fee apps and related issues.
09/12/22     SLB     Review Akin invoice for privilege and compliance with UST                1.90
                     guidelines (1.2); meet with team re billing issues (.5);
                     correspondence with team re follow-up to same (.2).
09/12/22     EYP     Various calls with parties in interest re mediation (2.0); review        3.00
                     estimation objection draft (1.0).
09/12/22     KND     Revise estimation objection (.9); correspondence with FR and lit         1.20
                     team members re same (.3).
09/12/22     EEP     Correspondence with lit and FR team members re estimation                0.30
                     objection.
09/12/22     TJS     Call with FR team members re fee application and billing issues          1.80
                     (.5); review invoice in connection with preparing July fee
                     application (1.1); correspondence with FR team members re same
                     (.2).
09/12/22     TJS     Correspondence with FR team members re review of Province                0.20
                     July fee application.
09/12/22     TJS     Analyze issues re mediation (.5); revise estimation objection (1.9);     2.80
                     correspondence with members of FR and lit team members re
                     same (.4).
09/12/22     TJS     Correspondence with members of FR and lit teams re Motion to             4.20
                     Dismiss (.7); revise same (3.0); correspondence to FR team
                     members re work stream coordination (.5).
09/12/22     TJS     Draft correspondence to FR team members re issues regarding              0.20
                     exclusivity extension statement.
09/12/22     ACL     Attend meeting re billing with FR team.                                  0.50
09/12/22     CAC     Call with FR team members re billing and fee application process         0.70
                     (.5); correspondence with same re same (.2).
09/12/22     CAC     Review UCC correspondence (.1); conduct case law research in             0.90
                     connection with motion to dismiss (.4); revise case calendar for
                     committee website (.3).
09/12/22     CAC     Circulate filings after ordinary business hours.                         0.20
09/12/22     MSD     Provide comments to Province's second monthly fee statement              0.50
                     (.3); correspondence with members of FR team and Province re
                     same (.2).
09/12/22     MSD     Participate in call with members of FR team re fee statement             0.50
                     preparation and related workstreams.
09/12/22     MSD     Review update correspondence to UCC.                                     0.20
09/12/22     MSD     Correspondence with FR and lit team members re estimation                0.20
                     objection.
09/12/22     JSG     Correspondence with members of lit and FR teams re motion to             0.20
                     dismiss.
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Date         Tkpr                                                                           Hours
09/13/22     MPH     Review and comment on motion to dismiss (5.9); correspondence           6.20
                     with M. Doss re same (.1); review update correspondence to UCC
                     (.2).
09/13/22     RS      Further revise motion to dismiss for cite check.                        4.50
09/13/22     BRK     Update calendar invites for case key dates and deadlines.               0.20
09/13/22     KPP     Review reply re appeals intervention.                                   0.50
09/13/22     SLB     Correspondence with members of FR and Lit teams re estimation           2.90
                     and related claims issues (.7); analyze issues re same (1.2); review
                     materials re same (1.0).
09/13/22     SLB     Review Akin invoice for privilege and compliance with UST               0.80
                     guidelines.
09/13/22     SLB     Attend meeting with members of FR team re open case issues and          2.80
                     next steps (.5); follow-up correspondence with members of FR
                     team re same (.3); review update correspondence to UCC (.2);
                     correspondence with members of FR team re parallel case tracking
                     work stream and related issues (.5); review summary and analysis
                     re same (.3); call with J. Salwen re same (.2); review underlying
                     materials re same (.8).
09/13/22     EYP     Review (1.1) and comment on (1.2) estimation objection;                 3.50
                     correspondence with FR and lit team members re same (.2); calls
                     with parties in interest re mediation issues (1.0).
09/13/22     EYP     Correspondence with UCC re case updates and next steps (.5);            1.50
                     review draft of motion to dismiss (1).
09/13/22     KND     Participate in weekly Akin FR team call re case status (.5); review     1.00
                     relevant updates from parallel mass tort matters (.5).
09/13/22     KND     Revise estimation objection (2.9); correspondence with FR and lit       3.30
                     team members re same (.4).
09/13/22     EEP     Correspondence with lit and FR team members re estimation               0.70
                     objection (.2); correspondence with M. Belegu re same (.1); revise
                     discovery requests (.4).
09/13/22     MB      Draft insert for estimation objection (.4); correspondence with E.      0.50
                     Parlar re same (.1).
09/13/22     TJS     Attend weekly call with FR team members re case work streams            5.70
                     (.5); revise Motion to Dismiss to reflect comments/open questions
                     (4.3); analyze issues re parallel case tracking (.4); correspondence
                     with FR and lit team members re same (.3); call with S. Brauner re
                     same (.2).
09/13/22     TJS     Comment on revised draft of estimation objection (.8);                  1.20
                     correspondence with members of FR and lit teams re same (.4).
09/13/22     ACL     Conduct research in connection with estimation (.7);                    0.90
                     correspondence with FR and lit team members re same (.2).
09/13/22     ACL     Attend meeting with FR team members on case status and next             0.50
                     steps.
09/13/22     CAC     Review correspondence between A. Preis and Debtor's counsel re          0.10
                     OCP proposed order draft.
09/13/22     CAC     Circulate public case calendar to Stretto for UCC website (.1);         0.80
                     review UCC correspondence (.2); attend meeting with FR team
                     members re case status and ongoing work streams (.5).
09/13/22     MSD     Review pleadings in parallel case (1.9); prepare summary of same        5.00
                     for members of FR team (1.8); correspondence with members of
                     FR team re same (.2); attend FR team meeting re case strategy and
                     work streams (.5); research re motion to dismiss (.4);
                     correspondence with M. Hurley re same (.2).
09/14/22     MPH     Review and revise motion to dismiss (1.9) and intervention reply        3.10
                     (1.2).
09/14/22     KPP     Correspondence with members of FR and lit teams re sealing and          1.10
                     confidentiality issues regarding Motion to Dismiss (.8); analyze
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Date         Tkpr                                                                          Hours
                     appellate issues (.3).
09/14/22     SLB     Analyze sealing issues re motion to dismiss (.9); correspondence       1.70
                     with members of FR and Lit teams re same (.6); review update
                     correspondence to UCC (.2).
09/14/22     SLB     Correspondence with J. Salwen re open issues re estimation and         3.50
                     claims (.8); analyze same (1.2); review materials re same (1.5).
09/14/22     EYP     Analyze issues re estimation objection.                                1.50
09/14/22     EYP     Review revised draft of motion to dismiss (1.1); correspondence        1.50
                     with members of FR and lit teams re same and related procedural
                     issues (.4).
09/14/22     KND     Research motions to seal in connection with MTD (.7);                  1.10
                     correspondence with FR and lit team members re same (.4).
09/14/22     EEP     Correspondence with lit and FR team members re motion to               0.40
                     dismiss and related issues.
09/14/22     MB      Draft motion to seal re motion to dismiss (1.5); review materials      3.40
                     for same (1.9).
09/14/22     TJS     Correspondence with FR and lit team members re Motion to               4.40
                     Dismiss (.6); revise same to reflect client comments (2.9);
                     correspondence with members of FR team re supplemental
                     research re same (.4); conduct research re same (.5).
09/14/22     TJS     Correspondence with members of FR team re July fee application.        0.40
09/14/22     TJS     Correspondence with S. Brauner re issues regarding Estimation          1.60
                     Objection (.6); review materials in connection with same (.9);
                     review mediation termination materials and analyze impact re
                     same (.1).
09/14/22     ACL     Review and analyze recent filings in parallel case in connection       1.40
                     with case strategy.
09/14/22     ACL     Review July invoice following billing team updates for                 1.50
                     compliance with US Trustee guidelines (.5); correspondence with
                     FR team members re same (.2); review and revise August invoice
                     in compliance with US Trustee guidelines (.8).
09/14/22     CAC     Correspondence with FR team members re July fee statement              0.20
                     preparation.
09/14/22     MSD     Correspondence with members of FR team re parallel case                0.40
                     research in connection with case strategy (.2); review update
                     correspondence to UCC (.2).
09/14/22     MSD     Review issues re hearing logistics for upcoming hearing.               0.20
09/14/22     MSD     Review protective order in connection with estimation objection.       0.20
09/15/22     MPH     Review and revise motion to dismiss (2.1) and intervention reply       4.20
                     (1.9); correspondence with FR team members re motion to dismiss
                     issues (.2).
09/15/22     BRK     Prepare fee tracker.                                                   1.80
09/15/22     EMS     Revise draft intervention reply brief.                                 0.90
09/15/22     SLB     Correspondence with members of FR and Lit teams re case                2.30
                     strategy and related pleadings (.6); analyze issues re same (.9);
                     review materials re same (.8).
09/15/22     EYP     Revise exclusivity statement (.8); correspondence with FR team         1.00
                     members re same (.2).
09/15/22     EYP     Draft update correspondence to UCC (.7); follow-up                     1.50
                     communications with UCC members re same (.3); analyze issues
                     in connection with case strategy (.5).
09/15/22     EYP     Call with mediator (.2); call with Burns Charest re mediation (.3);    1.50
                     comment on mediation notice draft (1.0).
09/15/22     KND     Review pleadings in connection with drafting estimation                0.50
                     objection.
09/15/22     KND     Correspondence with FR team on finalizing exclusivity pleading         1.20
                     (.3); comment on same (.7); emails with FR team re filing of same
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Date         Tkpr                                                                            Hours
                     (.2).
09/15/22     EEP     Review claims analysis issues.                                           0.10
09/15/22     TJS     Comment on final exclusivity statement (.5); correspondence with         0.80
                     FR team members re filing and service of same (.3).
09/15/22     TJS     Correspondence with members of FR team re July fee application           0.50
                     (.2); review draft re same (.3).
09/15/22     TJS     Comment on updated Estimation Objection draft (1.2); review              1.80
                     materials in connection with same (.6).
09/15/22     TJS     Review client comments on MTD (1.7); incorporate into current            6.60
                     draft re same (3.1); conduct supplemental legal and factual
                     research necessitated by same (1.5); correspondence with FR and
                     lit team members re same and related strategy issues (.3).
09/15/22     ACL     Draft summary of parallel case filings in connection with case           1.20
                     strategy.
09/15/22     ACL     Review and revise third monthly fee statement (.7);                      1.20
                     correspondence with FR team members re same (.3); provide
                     update on invoice review status for FR team members (.2).
09/15/22     CAC     Review (.3) and comment on (.3) draft July fee statement;                0.80
                     correspondence with members of FR team re same (.1).
09/15/22     CAC     Review UCC correspondence (.1); conduct research re motion to            0.40
                     dismiss (.2); correspondence with FR team members re same (.1).
09/15/22     CAC     Circulate docket filings after hours.                                    0.20
09/15/22     MSD     Correspondence with members of FR team re exclusivity                    2.30
                     statement (.4); revise same (1.2); finalize same for filing (.2);
                     correspondence with B. Kemp, K. Doorley and J. Salwen re filing
                     and coordinating service of same (.5).
09/15/22     MSD     Review invoice for compliance with UST guidelines and                    0.60
                     confidentiality/privilege issues (.5); correspondence with members
                     of FR team re Akin July fee statement (.1).
09/16/22     MPH     Review correspondence to UCC members relating to alleged stay            0.80
                     violation (.5); provide comments on same (.2); correspondence
                     with FR team members re same (.1).
09/16/22     MPH     Review and revise motion to dismiss (2.1) and intervention reply         3.20
                     brief (1); correspondence with FR team members re same (.1).
09/16/22     EMS     Review updated draft of intervention reply brief (.4); confer with       0.50
                     K. Porter regarding same (.1).

09/16/22     KPP     Review and comment on sealing motion (.4); review and comment            0.80
                     on draft intervention appeal reply (.3); confer with E. Scott re
                     same (.1).
09/16/22     SLB     Review update correspondence to UCC re case status and next              0.30
                     steps (.2); correspondence with FR and lit team members re
                     motion to dismiss issues (.1).
09/16/22     SLB     Correspondence with members of FR and lit teams re motion to             2.60
                     enforce automatic stay (.2); review and analyze same (.7); review
                     correspondence between A. Preis and counsel to UCC members re
                     filings in response to same (.6); analyze issues re same (.8); review
                     update correspondence to UCC re same (.3).
09/16/22     EYP     Correspondence with UCC members’ counsel re automatic stay               5.00
                     issues (.8); calls with UCC members’ counsel re same (1.0);
                     correspondence with FR and lit team members re same (.3);
                     review materials and pleadings in connection with same (2.4);
                     analyze issues re same (.5).
09/16/22     KND     Review pleadings in connection with drafting estimation                  0.70
                     objection.
09/16/22     TJS     Correspondence with A. Leggiero re fee application issues.               0.30
09/16/22     TJS     Confirm service of exclusivity statement.                                0.10
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Date         Tkpr                                                                              Hours
09/16/22     TJS     Revise motion to dismiss to reflect client and internal comments           9.20
                     (7.4); review materials re same (1.0); correspondence with FR and
                     lit team members re same (.8).
09/16/22     TJS     Analyze client comments re Estimation Objection (.7);                      1.10
                     correspondence with Province re same (.4).
09/16/22     ACL     Correspondence with J. Salwen team re fee application review.              0.20
09/16/22     MSD     Review recent filings in parallel case (.3); review HONX hearing           0.80
                     transcripts for circulation to Akin team (.3); review update
                     correspondence to UCC (.2).
09/17/22     MPH     Revise motion to dismiss (4.5); correspondence with members of             4.80
                     FR and lit teams re same (.3).
09/17/22     EMS     Revise draft intervention reply brief in light of additional litigation    1.50
                     team comments.
09/17/22     SLB     Review correspondence among members of FR and Lit teams re                 1.50
                     open work streams and next steps (.3); correspondence with
                     members of FR and Lit teams re motion to dismiss (.2); review
                     correspondence from UCC member re same (.2); analyze issues re
                     same (.8).
09/17/22     EYP     Correspondence with UCC re case updates and strategy (.4);                 0.50
                     review UCC members correspondence re motion to dismiss (.1).
09/17/22     EYP     Correspondence with Burns Charest and Porter Hedges re stay                1.00
                     motion and hearing.
09/17/22     KND     Review correspondence re automatic stay matters.                           0.20
09/17/22     EEP     Draft discovery requests (.5); conduct research in connection with         1.00
                     same (.5).
09/17/22     MB      Revise motion to seal re motion to dismiss.                                0.80
09/17/22     TJS     Continue incorporating client and internal comments to motion to           5.30
                     dismiss (4.1); correspondence with FR and lit team members re
                     same (.2); conduct supplemental research re same (1.0).
09/17/22     TJS     Analyze open issues re Estimation Objection.                               0.50
09/17/22     TJS     Review materials re July fee app.                                          0.10
09/18/22     MPH     Review updated draft of MTD (.6); comment on same (1.3);                   2.10
                     correspondence with FR and lit team members re same (.2).
09/18/22     MPH     Revise estimation objection.                                               2.20
09/18/22     EMS     Revise draft intervention reply brief.                                     0.70
09/18/22     SLB     Correspondence with members of FR team re estimation and                   2.10
                     related issues in connection with objection re same (.7); analyze
                     issues re same (.8); review draft objection (.6).
09/18/22     SLB     Review and revise motion to dismiss (2.7); correspondence with             4.40
                     members of FR and Lit teams re same and related issues (.8);
                     analyze same (.9).
09/18/22     MLB     Correspondence with FR and lit team members re motion to                   0.30
                     dismiss issues and next steps.
09/18/22     KND     Review local rules in connection with estimation objection (.4);           1.20
                     review comments to draft objection (.6); correspondence with FR
                     team members re same (.2).
09/18/22     TJS     Continue revising motion to dismiss re various internal and               11.30
                     external comments (8.2); correspondence with FR and lit team
                     members re additional research and strategy issues re same (.9);
                     conduct supplemental research re same (1.5); review research re
                     parallel case tracking (.4).
09/18/22     TJS     Correspondence with FR members re estimation objection issues.             0.70
09/18/22     ACL     Research local rules for estimation objection filings (.5);                0.70
                     correspondence with FR team members re same (.2).
09/18/22     ACL     Research precedent cases for motion to dismiss (.8);                       1.00
                     correspondence with members of FR team re same (.2).
09/18/22     CAC     Compile hearing materials for 9/19 bar date motion hearing.                0.40
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Date         Tkpr                                                                              Hours
09/18/22     MSD     Review recent filings in parallel bankruptcy case in connection            2.50
                     with case strategy (.8); conduct research in connection with
                     motion to dismiss (1.4); correspondence with FR team members re
                     same (.3).
09/19/22     MPH     Review and revise MTD (1.5); review research re same (1.0).                2.50
09/19/22     MPH     Comment on estimation objection draft.                                     1.60
09/19/22     MPH     Attend hearing (.6); call with Burns Charest after same (.3); call         1.10
                     with A. Preis re same (.2).

09/19/22     BRK     Confer with M. Doss re filing Akin Third Monthly Fee Statement             0.80
                     (.1); file fee statement (.3); correspondence with Stretto re service
                     of same (.1); circulate filed copy to attorney team (.1); update
                     docket folder (.1).
09/19/22     BRK     Confer with M. Doss re filing Province Second Monthly Fee                  0.80
                     Statement (.1); file fee statement (.3); correspondence with Stretto
                     re service of same (.1); circulate filed copy to attorney team (.1);
                     update docket folder (.1).
09/19/22     EMS     Confer with litigation team members regarding finalizing draft             0.40
                     intervention reply brief for filing (.2); call with K. Porter regarding
                     draft reply brief and next steps for appeal (.2).
09/19/22     KPP     Correspondence with members of lit and FR teams re motion to               1.30
                     seal (.2); correspondence re motion to dismiss edits (.3); analyze
                     issues re same (.5); confer with M. Belegu re same (.1); call with
                     E. Scott re appeal intervention issues (.2).
09/19/22     KPP     Correspondence with Kirkland re appeals and notice of                      0.70
                     termination.
09/19/22     SLB     Review (.9) and revise (.9) objection to estimation;                       4.10
                     correspondence with members of FR and Lit teams re same and
                     related claims issues (.7); analyze issues re same (1.6).
09/19/22     SLB     Review and revise MTD (1.8); correspondence with members of                4.50
                     FR team re same (.4); confer with J. Salwen re same (.5); analyze
                     issues re same (1.6); review update correspondence to UCC (.2).
09/19/22     SLB     Prepare for (.3) and attend (.6) hearing.                                  0.80
09/19/22     EYP     Attend court hearing (.6); prep for same (1.5); call with Burns            2.60
                     Charest post-hearing (.3); call with M. Hurley re same (.2).
09/19/22     EYP     Comment on draft estimation objection (.7); correspondence with            1.00
                     lit and FR team members re same (.3).
09/19/22     EYP     Review updated MTD (.6); correspondence with members of FR                 1.00
                     and lit teams re same (.4).
09/19/22     MLB     Review and comment on motion to dismiss (1.6); correspondence              1.80
                     with members of lit and FR teams re same (.2).
09/19/22     MLB     Participate in hearing.                                                    0.60
09/19/22     KND     Attend hearing on bar date motion and status conference (.6);              1.00
                     comment on summary of same (.4).
09/19/22     KND     Revise estimation objection (3.5); correspondence with lit and FR          3.90
                     team members re same (.4).
09/19/22     KND     Correspondence with FR team members re MTD.                                0.20
09/19/22     EEP     Correspondence with lit and FR team members re estimation                  0.10
                     objection.
09/19/22     MB      Cite check motion to seal MTD (2.2); conduct legal research for            5.60
                     same (2.2); correspond with lit and FR team members re same
                     (.7); review information for redaction in MTD (.4); call with K.
                     Porter re same (.1).
09/19/22     TJS     Correspondence with FR and lit team members re estimation                  0.40
                     objection issues (.2); correspondence with Province re same (.1);
                     analyze issues re same (.1).
09/19/22     TJS     Revise motion to dismiss to reflect additional internal and client        10.50
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Date         Tkpr                                                                          Hours
                     comments (6.8); correspondence with members of FR and lit
                     teams re same (.9); confer with S. Brauner re same (.5); analyze
                     proceedings in parallel case re same (.6); correspondence with
                     members of FR and lit teams re proposed sequencing of filings
                     (.3); analyze issues re same (.8); correspondence with members of
                     FR and lit teams re ancillary filings in connection with motion to
                     dismiss (.2); draft issues list re motion to seal (.4).
09/19/22     TJS     Prepare for (.6) and remotely attend (.6) hearing; prepare summary     2.20
                     of hearing for UCC informational email (1.0).
09/19/22     ACL     Review case law research to update estimation objection draft.         2.70
09/19/22     ACL     Draft update to FR team members on parallel case proceedings in        0.40
                     connection with case strategy.
09/19/22     ACL     Draft correspondence to billing team re revisions to August            0.80
                     invoice (.2); review and revise August invoice to ensure
                     compliance with US Trustee guidelines (.6).
09/19/22     CAC     Review bar date and claims estimation issues.                          0.10
09/19/22     MSD     Finalize Province fee application for filing (.4); confer with B.      0.50
                     Kemp re same (.1).

09/19/22     MSD     Research issues in connection with estimation objection.               0.50
09/19/22     MSD     Review August invoice for compliance with UST guidelines and           3.30
                     privilege/confidentiality issues (2.8); finalize Akin and Province
                     July fee applications for filing (.4); confer with B. Kemp re same
                     (.1).
09/19/22     MSD     Attend hearing in parallel case (3.0); analyze impact of same on       3.40
                     case strategy (.3); review materials re same (.3).
09/19/22     MSD     Correspondence to A. Carrillo and A. Leggiero re after-hours           0.10
                     docket coverage schedule.
09/20/22     MPH     Review and comment on motion to dismiss (3.1); call with FR            3.30
                     team re same (partial) (.2).
09/20/22     BRK     Confer with A. Carrillo re preparing first interim fee application     4.60
                     (.1); complete update of fee application backups (2.0); prepare
                     first interim fee app (2.5).
09/20/22     EMS     Confer with M. Stanley regarding intervention reply brief (.3);        2.20
                     revise draft in light of additional judicial requirements (1.6) and
                     confer with K. Porter and M. Stanley regarding same (.3).
09/20/22     KPP     Analyze necessary updates/changes to estimation objection draft.       0.70
09/20/22     KPP     Draft updated issues list re intervention reply.                       0.10
09/20/22     SLB     Review hearing summary.                                                0.30
09/20/22     SLB     Analyze open claims and bar date issues (.4); review                   1.40
                     correspondence from Debtor’s counsel re same (.2); review
                     materials re same (.8).
09/20/22     SLB     Correspondence with members of FR and Lit teams re MTD (.9);           5.30
                     call with J. Salwen re same (.1); analyze issues re same (1.0);
                     review revised version of same (1.5); attend team meeting (.5);
                     review update correspondence to UCC (.2); analyze case strategy
                     issue and review materials re same (1.2).
09/20/22     MLB     Review (.6) and comment on (.8) draft estimation objection in          1.40
                     light of hearing.
09/20/22     KND     Provide additional comments on summary of hearing.                     0.70
09/20/22     KND     Revise estimation objection (1.8); correspondence with A.              2.10
                     Leggiero re research in connection with same (.3).
09/20/22     KND     Review exclusivity stipulation (.3); correspondence with FR team       0.50
                     re same (.2).
09/20/22     KND     Attend weekly team call (.5); confer with J. Salwen re motion to       1.00
                     dismiss and next steps (.5).
09/20/22     MS      Discuss with E. Scott issues re intervention reply brief case (.3);    3.00
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Date         Tkpr                                                                           Hours
                     analyze local rules for Southern District of Texas in connection
                     with same (.4); revise reply brief ISO motion to intervene (2.3).
09/20/22     MB      Edit motion to dismiss (1.8); correspond with team re same (.1);        2.00
                     call with J. Garrett re same (.1).
09/20/22     TJS     Revise motion to dismiss to reflect internal and client comments       12.90
                     and in light of 9/19 hearing (7.9); correspondence with members
                     of FR and lit teams re multiple issues in connection with same
                     (1.8); confer with K. Doorley re same (.5); call with S. Brauner re
                     same (.1); call with J. Garrett re same (.2); analyze issues re
                     impact of new sequencing on content of Motion to Dismiss (.5);
                     draft proposed changes re same (1.0); correspondence with M.
                     Doss re notice of motion (.2) revise draft of same (.2); attend call
                     with members of FR and lit teams re case status and next steps
                     (.5).
09/20/22     TJS     Review draft exclusivity stipulation (.2); correspondence with FR       0.30
                     team members re same (.1).
09/20/22     ACL     Draft correspondence to FR team members re docket coverage.             0.10
09/20/22     ACL     Review precedent estimation cases to update estimation objection        3.60
                     draft (2.9); correspondence with K. Doorley members re same
                     (.1); compile estimation precedent filings for same (.6).
09/20/22     ACL     Review revisions to August invoice (.2); prepare CNO for June fee       0.80
                     statement (.6).
09/20/22     ACL     Attend FR team meeting re case status and next steps.                   0.50
09/20/22     ACL     Compare Kirkland exclusivity stipulation with proposed                  0.40
                     exclusivity order (.3); correspondence re same with FR team
                     members (.1).
09/20/22     CAC     Call with FR and lit team members re case updates and open              1.40
                     issues (.5); draft proposed order for motion to dismiss (.9).
09/20/22     CAC     Review August invoice to ensure compliance with UST                     0.40
                     Guidelines and privilege and confidentiality (.3); confer with B.
                     Kemp re preparation of first interim fee application (.1).
09/20/22     MSD     Participate in FR team meeting re case status (.5); draft notice re     1.80
                     motion to dismiss (.4); research procedural issues re same (.7);
                     correspondence with J. Salwen re same (.2).
09/20/22     JSG     Review motion to dismiss and motion to seal (.4); calls with M.         0.70
                     Belegu (.1) and J. Salwen (.2) re same.
09/21/22     MPH     Review and revise MTD (5.5); correspondence with members of             6.10
                     FR and lit teams re same (.6).
09/21/22     RS      Cite check motion to dismiss (2.9) and prepare table of authorities     3.80
                     (.9).
09/21/22     BRK     Monitor docket and prepare and circulate update to attorney team.       0.50
09/21/22     EMS     Confer with M. Stanley regarding updated draft reply brief ISO          0.50
                     motion to intervene (.1); further revise same (.4).
09/21/22     KPP     Revise intervention reply (.4); draft status update re same (.2).       0.60
09/21/22     KPP     Correspondence with J. Garrett re scheduling issues for other           4.60
                     pleadings in connection with motion to dismiss (.7); review and
                     comment on draft motion to dismiss (3.6); correspondence with lit
                     and FR team members re same (.3).
09/21/22     SLB     Analyze open issues re claims (.7); review materials re same (.9).      1.60
09/21/22     SLB     Review and comment on revised draft MTD (1.8); correspondence           6.20
                     with members of FR and Lit teams re open issues in connection
                     with the same and filing issues (.9); analyze issues re same (1.2);
                     calls with J. Salwen re same (.5); review update correspondence to
                     UCC (.2); correspondence with members of FR team re case status
                     and current work streams (.6); review materials re same (1.0).
09/21/22     EYP     Review and comment on MTD (3.1); correspondence with                    5.00
                     members of FR and lit teams re same (.4); calls with W. Burns
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Date         Tkpr                                                                          Hours
                     [Burns Charest] regarding various issues re MTD (1.0); call with
                     UST re MTD (.5).
09/21/22     KND     Review drafts of MTD order and motion to seal (.9);                    1.80
                     correspondence with members of FR and lit teams re same (.6);
                     confer with J. Salwen re same (.3).
09/21/22     MS      Revise reply ISO motion to intervene (1.0); confer with E. Scott re    1.10
                     same (.1).
09/21/22     MB      Correspond with lit team members re filing motion to dismiss and       2.40
                     related pleadings (.2); research local rules for same (.5); draft
                     motion to seal (1.1); prepare pleadings for filing (.6).
09/21/22     TJS     Revise motion to dismiss (6.2); review internal and client            14.20
                     comments re same (.5); revise notice of motion (.3); revise motion
                     to seal (.9); revise proposed order (.5); correspondence with
                     members of FR, lit and finance teams re multiple issues in
                     connection with the foregoing (2.4); calls with S. Brauner re same
                     (.5); call with A. Carrillo re same (.1); confer with K. Doorley re
                     same (.3); correspondence with lit and FR team members and
                     Stretto re service in connection with same (.5); correspondence
                     with lit team members re preparation of redacted and sealed
                     versions of filing (.6); review materials re scope of required
                     redactions (1.4).
09/21/22     ACL     Review and revise August invoice to avoid disclosure of                0.80
                     privileged/confidential/attorney work product information and for
                     compliance with US Trustee guidelines (.6); correspondence with
                     billing team re same (.2).
09/21/22     CAC     Revise first interim fee application.                                  2.30
09/21/22     CAC     Revise proposed order re motion to dismiss (.9); conduct research      1.30
                     re same (.3); call with J. Salwen re same (.1).
09/21/22     MSD     Review local rules, bankruptcy rules, complex case procedures          2.00
                     and court procedures re sealing motion to dismiss (1.3);
                     correspondence with members of lit and FR teams re same (.2);
                     revise notice of motion to dismiss (.5).
09/21/22     MSD     Review August invoice for compliance with UST guidelines and           0.60
                     for confidentiality/privilege issues.
09/21/22     JSG     Revise draft motion to dismiss (.6) and associated motion for          1.40
                     sealing (.5); correspondence with members of lit and FR teams re
                     same (.3).
09/22/22     MPH     Review and revise MTD (3.7); correspondence with members of            4.10
                     Akin team re filing of same (.4).
09/22/22     BRK     Update internal case calendar.                                         0.70
09/22/22     BRK     Correspondence with members of FR team re filing sealed Motion         1.30
                     to Dismiss and related pleadings (.1); prepare motions and notice
                     to be efiled (.2); effect the above (.8); circulate filed copies to
                     attorney team (.1); update docket folder (.1).
09/22/22     EMS     Review (.2) and further revise (.4) draft intervention reply.          0.60
09/22/22     KPP     Correspondence with members of FR and lit teams re MTD filing          0.90
                     issues and considerations.
09/22/22     SLB     Analyze open claims and estimation issues.                             1.10
09/22/22     SLB     Correspondence with members of FR and Lit teams re finalizing          6.20
                     MTD (1.0); confer with J. Salwen re same (.4); analyze issues re
                     same (1.7); review final version of same and ancillary documents
                     (2.3); correspondence with members of FR team re case status and
                     work streams (.8).
09/22/22     KND     Multiple communications with members of Akin team re filing            2.30
                     and service of MTD and ancillary pleadings (1.2); analyze issues
                     in connection with same (.8); confer with J. Salwen re same (.3).
09/22/22     TJS     Finalize motion to dismiss (4.7); finalize ancillary documents        11.70
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Date         Tkpr                                                                            Hours
                     (1.9); correspondence with FR and lit team members re same
                     (2.3); confer with K. Doorley re same (.3); confer with S. Brauner
                     re same (.4); coordinate redactions to same (.5); review materials
                     in connection with redaction process (.3); coordinate filing and
                     service of same (.9); serve unredacted version on applicable
                     parties (.2); correspondence to case manager re motion to seal (.2).
09/22/22     TSL     Review team email correspondence and case background                     1.00
                     materials.
09/22/22     MSD     Finalize motion to seal MTD and notice of MTD for filing (.5);           2.20
                     review court and local rules in connection with same (.7); prepare
                     service list re same (.3); draft service correspondence re same (.3);
                     correspondence with members of Akin lit and FR teams re same
                     (.4).
09/22/22     JSG     Finalize redactions for motion to dismiss.                               2.10
09/23/22     MPH     Call with Kirkland re estimation and related issues (.4); call with      1.40
                     FR and lit team members in advance of same (.2); analyze issues
                     re same (.8).
09/23/22     KPP     Call with Debtor’s counsel re estimation (.4); call with lit and FR      0.60
                     team members re same (.2).
09/23/22     SLB     Review correspondence among members of FR and Lit teams re               1.60
                     open case issues and work streams (.6); review materials re same
                     (.8); review update correspondence to UCC (.2).
09/23/22     SLB     Participate on pre-call with members of FR and Lit teams (.2) and        3.70
                     call (.4) with Debtor’s counsel re claims and estimation issues;
                     analyze issues re same (1.2); call with K. Doorley re same (.1);
                     review materials re same (1.8).
09/23/22     EYP     Call with W. Burns [Burns Charest] re various case issues and            0.50
                     updates.
09/23/22     EYP     Review documents sent by company in connection with claims               2.50
                     analysis (.9); prepare for (.1) and attend (.4) call with Kirkland re
                     estimation issues; attend call with lit and FR team members re
                     same (.2); analyze issues re same (.9).
09/23/22     KND     Call with Debtor’s counsel re estimation and related issues (.4);        0.80
                     call with S. Brauner re same (.1); review materials re same (.3).
09/23/22     EEP     Review claims analysis issues.                                           0.10
09/23/22     TJS     Correspondence with protective order parties re sharing                  0.20
                     unredacted motion to dismiss with FCR professionals (.1); serve
                     unredacted motion to dismiss on FCR professionals (.1).
09/23/22     TJS     Call with Debtor re estimation and related issues (.4); call with FR     3.00
                     and lit team members re same (.2); analyze issues re same (.8);
                     review draft pleadings in connection with same (1.0); analyze
                     Debtor's scheduling proposal (.6).
09/23/22     TSL     Review case materials re current status (3.0); review team               4.70
                     correspondence re same (.5); review motion to dismiss (.9); review
                     team correspondence re same (.3).
09/23/22     CAC     Revise public case calendar for creditors' website (.4); conduct         0.70
                     research re motion to dismiss (.3).
09/24/22     SLB     Analyze open issue re claims and estimation (.5); review draft           1.50
                     objection re same (1.0).
09/24/22     TJS     Analyze issues re new track for estimation objection (.8); review        3.10
                     hearing materials re same (.6); review current objection draft in
                     connection with analysis of next steps (1.7).
09/25/22     KPP     Correspondence with Kirkland re draft notices.                           0.20
09/25/22     SLB     Analyze issues re claims and estimation (.8); conduct research re        2.80
                     same (.7); correspondence with members of FR team re same (.4);
                     review draft materials re same (.9).
09/25/22     KND     Review proof of claim form draft (.2); correspondence with FR            0.50
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Date         Tkpr                                                                              Hours
                     team members re same and related issues (.3).
09/25/22     TJS     Correspondence with FR and lit team members re bar date and                3.00
                     estimation issues (.3); correspondence with UCC members’
                     counsel re same (.3); analyze issues re same (1.2); review prior
                     materials re same (.4); draft outline of potential changes to
                     estimation objection (.8).
09/25/22     TJS     Review August invoice for compliance with fee guidelines and               1.30
                     privileged/confidential information.
09/25/22     MSD     Correspondence with members of FR team re bar date research.               0.30
09/26/22     MPH     Review correspondence concerning estimation objection (.3);                2.40
                     review and comment on objection (2.1).
09/26/22     BRK     Update transcript folder.                                                  0.20
09/26/22     BRK     Monitor docket and circulate daily update to attorney team.                0.30
09/26/22     EMS     Revise draft appeal intervention brief (1.3); review materials from        1.60
                     M. Stanley regarding same (.3).
09/26/22     SLB     Analyze issue re claims estimation (.8); review draft objection re         1.50
                     same (.5); call with K. Doorley re same (.2).
09/26/22     SLB     Review recent filings in connection with analysis of case strategy         1.70
                     and related issues.
09/26/22     KND     Correspondence with team re motion scheduling matters.                     0.30
09/26/22     KND     Call with S. Brauner re estimation objection (.2); analyze bar date        1.10
                     issues and draft documents (.6); correspondence with FR team
                     members re research for same (.3).
09/26/22     MS      Research local rules with respect to intervention reply (0.3); revise      1.90
                     intervention reply (1.5).
09/26/22     TJS     Correspondence with members of FR and lit team re sequencing               2.10
                     issues in connection with motion to dismiss and other pleadings
                     (.4); analyze issues re same (.8); conduct research regarding
                     procedural rules in connection with same (.9).
09/26/22     TSL     Review motion to dismiss (.8); conduct research re open issue in           2.30
                     connection with same (1.2); review team correspondence re same
                     and re strategy/scheduling (.3).
09/26/22     TSL     Review bar date issues.                                                    0.20
09/26/22     ACL     Correspondence with FR team re motion scheduling issues.                   0.10
09/26/22     ACL     Correspondence with FR team members re bar date document                   5.40
                     research (.2); review PIQ and proof of claim form (.2); conduct
                     research re same (3.9); compile documents re same (1.1).
09/26/22     CAC     Conduct research re proofs of claim and personal injury                    4.60
                     questionnaires in connection with proposed estimation and bar
                     date procedures (4.2); correspondence with FR team members re
                     same (.4).
09/26/22     CAC     Correspondence to FR team members re docket coverage.                      0.10
09/26/22     MSD     Conduct research re PIQs and proof of claim issues (1.6);                  1.80
                     correspondence with members of FR team re same (.2).
09/26/22     MSD     Correspondence with members of FR team re scheduling of                    0.10
                     motions.
09/27/22     MPH     Analyze strategy re motion to dismiss and related issues (2.9);            3.70
                     confer with lit and FR team members re same (0.5);
                     correspondence with lit and FR team members re same (.3).
09/27/22     EMS     Participate in Akin team call with FR and litigation team members          2.30
                     regarding strategy and next steps for MTD and potential filings
                     (.5); correspondence with litigation and FR team members
                     regarding same (.3); analyze docket regarding next steps for
                     intervention reply (.2); revise draft intervention reply brief in light
                     of additional litigation team comments (1.3).
09/27/22     KPP     Draft correspondence to Akin team re appeals and intervention              1.30
                     issues.
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Date         Tkpr                                                                          Hours
09/27/22     KPP     Call with lit and FR team members re litigation strategy issues.       0.50
09/27/22     SLB     Analyze issue re estimation (.6); conduct research re same (.9).       1.50
09/27/22     SLB     Prepare for (.2) and attend (.5) call with FR team members re case     5.40
                     status and open work streams; call with FR and lit team members
                     re motion to dismiss and related scheduling matters (.5);
                     correspondence with members of FR and lit teams re same (.8);
                     analyze issues re same (1.8); review recent filings in connection
                     with the same (1.6).
09/27/22     EYP     Call with lit and FR team members re strategy for MTD (.5);            1.00
                     analyze issues re same (.3); correspondence with FR team
                     members re same (.2).
09/27/22     MLB     Call with lit and FR team members re MTD strategy going                1.30
                     forward (.5); comment on draft intervention pleading (.8).
09/27/22     MLB     Review materials and hearing transcripts re upcoming estimation        0.30
                     proceeding.
09/27/22     KND     Attend meeting with FR team re: case status and open work              1.10
                     streams (.5); prepare for (.1) and participate in (.5) call with FR
                     and lit team members re scheduling matters.
09/27/22     KND     Draft motion for adjournment (2.4); conduct research re same (.6);     3.80
                     review bar date form research (.6); correspondence with FR team
                     members re same (.2).
09/27/22     EEP     Call with lit and FR team members re scheduling/sequencing             0.50
                     issues.
09/27/22     TJS     Prepare for (.3) and attend (.5) call with FR team members re case     4.50
                     status and next steps; call with FR and lit team members re
                     sequencing issues regarding motion to dismiss and potential
                     pleading in connection with same (.5); analyze issues re same (.4);
                     correspondence with FR and lit team members re same (.5);
                     review draft discovery requests (2.3).
09/27/22     TSL     Attend meeting with members of FR team re case status and open         1.10
                     work streams (.5); confer with A. Leggiero re same (.6).
09/27/22     TSL     Conduct research re PIQ and bar date issues (2.5); correspondence      3.00
                     with FR team members re same (.5).
09/27/22     ACL     Attend meeting with FR team members re case status and work            1.30
                     streams (.5); confer with T. Leighton re same (.6); review UCC
                     update correspondence (.2).
09/27/22     ACL     Research proof of claim and questionnaire forms in precedent           0.80
                     estimation cases (.6); correspondence with FR team members re
                     same (.2).
09/27/22     CAC     Call with FR team members re case updates and open issues.             0.50
09/27/22     CAC     Conduct research re estimation precedent (.9); correspondence          1.00
                     with FR team members re same (.1).
09/27/22     MSD     Attend meeting with members of FR team re open work streams            0.80
                     and case updates (.5); review update correspondence to UCC (.3).
09/27/22     MSD     Research issues re claim estimation process (2.1); correspondence      3.00
                     with members of FR team re same (.2); revise chart of findings re
                     same (.7).
09/28/22     MPH     Comment on completed portion of motion to adjourn.                     2.10
09/28/22     BRK     Monitor docket and circulate daily update to attorney team.            0.30
09/28/22     BRK     Confer with M. Doss re filing Certificate of No Objection re Akin      0.80
                     June Fee Statement (.1); file CNO (.4); correspondence with
                     Stretto re service of same (.1); circulate filed copy to attorney
                     team (.1); update docket folder (.1).
09/28/22     KPP     Draft correspondence to Akin team re call with Kirkland re appeal      0.10
                     procedures.
09/28/22     SLB     Analyze open claims and estimation issues (.7); review materials       2.00
                     re same and motion to adjourn (1.1); correspondence with J.
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Date         Tkpr                                                                         Hours
                     Salwen re same (.2).
09/28/22     SLB     Correspondence with J. Salwen re case strategy in connection with     3.10
                     MTD and related motion to adjourn hearing (.8); analyze issues
                     and review materials re same (1.5); review correspondence among
                     Debtor and UCC counsel re appeals (.4); review notices re same
                     (.4).
09/28/22     KND     Draft motion to adjourn.                                              1.50
09/28/22     TJS     Correspondence with FR team members re filing of June fee             2.20
                     statement CNO (.1); review August invoice re
                     confidential/privileged information and UST guidelines
                     compliance (2.1).
09/28/22     TJS     Comment on draft of motion to adjourn/continue hearing (.7);          0.90
                     correspondence with S. Brauner re same and related issues (.2).
09/28/22     TSL     Analyze precedent re estimation process (1.0); draft analysis re      4.90
                     same (3.5); correspond with FR team members re same (.4).
09/28/22     TSL     Review latest case updates and filings (.2); review team              0.30
                     correspondence re same (.1).
09/28/22     ACL     Revise estimation research summary (2.8); correspondence with         3.00
                     FR team members re same (.2).
09/28/22     CAC     Revise public case calendar for committee website.                    0.60
09/28/22     MSD     Finalize CNO re June fee statement (.1); correspondence with J.       0.30
                     Salwen re filing of same (.1); confer with B. Kemp re same.
09/29/22     MPH     Revise estimation objection.                                          1.30
09/29/22     EMS     Participate in call with Kirkland regarding appeal schedule (.2);     0.70
                     correspondence with K. Porter and lit team members regarding
                     next steps with respect to same (.4); review draft regarding same
                     (.1).
09/29/22     KPP     Meet and confer with Kirkland re appeal schedule (0.2);               0.80
                     correspondence with Akin team re appeal schedule (0.6).
09/29/22     SLB     Draft correspondence to members of FR team re billing issues.         0.40
09/29/22     SLB     Revise motion to adjourn (1.3); analyze issues re same and related    5.00
                     issues (1.4); correspondence with members of FR team re same
                     (.6); analyze claims and estimation issue (.9); review research re
                     same (.5); review correspondence from Debtor’s counsel team re
                     claims issues and related motions (.3).
09/29/22     SLB     Analyze case strategy issues (.9); review materials re same (.6);     1.70
                     review update correspondence to UCC (.2).
09/29/22     EYP     Comment on draft motion to adjourn.                                   1.00
09/29/22     KND     Revise motion to adjourn (2.5); comment on proof of claim form        5.50
                     analysis (3.0).
09/29/22     KND     Call with Akin and KE teams re appeal schedule.                       0.30
09/29/22     TJS     Continue commenting on motion to adjourn/continue hearing.            1.80
09/29/22     TJS     Analyze materials re estimation issue (1.9); correspondence with      2.40
                     members of FR team re estimation process precedent (.5).
09/29/22     TJS     Correspondence with members of FR team re appeals schedules           1.00
                     (.2); review materials re same (.7).

09/29/22     TSL     Draft internal research document re estimation documents (3.6);       4.20
                     correspond with FR team members re same (.4); confer with A.
                     Leggiero re same (.2).
09/29/22     ACL     Confer with T. Leighton re estimation and bar date research (.2);     6.30
                     conduct research re same (3.5); update PIQ/POC research chart
                     with same (2.3); correspondence with FR team members re same
                     (.3).
09/29/22     CAC     Review correspondence with Debtor's counsel re appeal and             0.10
                     adversary proceeding standstill.
09/29/22     CAC     Conduct research re estimation/bar date process.                      3.60
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Date         Tkpr                                                                         Hours
09/30/22     MPH     Revise motion to adjourn.                                             4.90
09/30/22     KPP     Draft correspondence to team re appeals schedule.                     0.30
09/30/22     SLB     Analyze case strategy issues (.5); review update correspondence to    1.10
                     UCC (.2); review recent filings (.4).
09/30/22     SLB     Revise motion to adjourn (1.4); correspondence with members of         5.10
                     FR team re same (.3); analyze claims process issues (2.0); review
                     materials re same (.6); review research re same (.8).
09/30/22     EYP     Revise adjournment motion (2.1); correspondence with FR team           3.10
                     members re same (.3); correspondence with Kirkland re same (.4);
                     call with Kirkland re bar date issues (.3).
09/30/22     EYP     Call with W. Burns [Burns Charest] re case updates (.6); draft         1.20
                     update correspondence to UCC re same (.3); correspondence with
                     UCC member counsel re same (.3).
09/30/22     KND     Revise motion to adjourn (.7); review research re same (1.0);          4.80
                     correspondence with FR team members re same (.2);
                     correspondence with M. Doss re same (.1); comment on claims
                     process research analysis (2.5); correspondence with FR team
                     members re same (.3).
09/30/22     TJS     Review August invoice re confidential/privileged information and       1.40
                     UST guidelines compliance.
09/30/22     TJS     Correspondence to members of FR and lit teams re case discovery        2.40
                     issues (.4); review materials re same (2).
09/30/22     TJS     Correspondence to members of FR and lit teams re motion to             1.40
                     adjourn issues (.3); analyze issues re same (.5); conduct
                     supplemental research in connection with same (.6).
09/30/22     TSL     Review revisions to claims research summary (.2); make revisions       4.10
                     re same (3.2); correspond with FR team members re same (.7).
09/30/22     TSL     Review latest case updates (.2); review team correspondence re         0.40
                     same (.2).
09/30/22     ACL     Update chart re estimation process precedent (4.8);                    5.40
                     correspondence with FR team members re same (.6).
09/30/22     CAC     Conduct research re claims and estimation process (.9);                1.20
                     correspondence with FR team members re same (.3).
09/30/22     CAC     Revise first interim fee application draft.                            0.80
09/30/22     MSD     Perform research re motion to adjourn hearing re estimation            3.90
                     motion (3.7); correspondence with K. Doorley re same (.2).

                                                                           Total Hours    870.60


TIMEKEEPER TIME SUMMARY:
Timekeeper                      Hours                  Rate                   Value
M P HURLEY                      83.10     at          $1775.00   =      $147,502.50
E M SCOTT                       31.90     at          $1245.00   =       $39,715.50
S L BRAUNER                    129.80     at          $1400.00   =      $181,720.00
A PREIS                         68.50     at          $1775.00   =      $121,587.50
M L BRIMMAGE JR.                 6.70     at          $1775.00   =       $11,892.50
K P PORTER                      22.60     at          $1240.00   =       $28,024.00
K DOORLEY                       59.20     at          $1225.00   =       $72,520.00
E E PARLAR                      14.20     at          $1190.00   =       $16,898.00
J SALWEN                       208.50     at          $1095.00   =      $228,307.50
J S GARRETT                     10.30     at          $1025.00   =       $10,557.50
M STANLEY                        6.00     at           $605.00   =        $3,630.00
M BELEGU                        36.40     at           $840.00   =       $30,576.00
T S LEIGHTON                    26.20     at           $710.00   =       $18,602.00
A C LEGGIERO                    42.30     at           $710.00   =       $30,033.00
C A CARRILLO                    37.00     at           $880.00   =       $32,560.00
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Timekeeper                           Hours                 Rate               Value
M DOSS                               52.10     at          $880.00 =     $45,848.00
R J SLAVIN                           15.50     at          $445.00 =      $6,897.50
B R KEMP                             20.30     at          $420.00 =      $8,526.00

                               Current Fees                                           $1,035,397.50




FOR COSTS ADVANCED AND EXPENSES INCURRED:
             Computerized Legal Research - Lexis - in                   $761.84
             contract 30% discount
             Computerized Legal Research - Lexis -                       $56.50
             out of contract
             Computerized Legal Research - Courtlink                    $374.45
             - In Contract 50% Discount
             Computerized Legal Research - Westlaw                     $9,011.85
             - in contract 30% discount
             Meals - Overtime                                            $21.53
             Meals - Business                                            $58.79
             Overtime - secretarial                                      $37.31
             Travel - Ground Transportation                              $87.55

                Current Expenses                                                        $10,409.82

Date                                                                       Value
09/01/22        Computerized Legal Research - Westlaw                  $2,734.82
                - in contract 30% discount User: DOSS
                MALAK Date: 9/1/2022 AcctNumber:
                1000812018 ConnectTime: 0.0
09/01/22        Computerized Legal Research - Lexis -                    $56.50
                out of contract Service: US
                TREATISES; Employee: PETREE
                NICHOLAS; Charge Type: DOC
                ACCESS; Quantity: 1.0
09/01/22        Computerized Legal Research - Lexis - in                $243.31
                contract 30% discount Service:
                SEARCH; Employee: DOSS MALAK;
                Charge Type: ACCESS CHARGE;
                Quantity: 3.0
09/01/22        Computerized Legal Research - Lexis - in                $145.32
                contract 30% discount Service:
                SEARCH; Employee: PETREE
                NICHOLAS; Charge Type: ACCESS
                CHARGE; Quantity: 2.0
09/01/22        Computerized Legal Research - Lexis - in                 $38.90
                contract 30% discount Service: US
                EMERGING ISSUES ANALYSIS;
                Employee: PETREE NICHOLAS;
                Charge Type: DOC ACCESS; Quantity:
                1.0
09/01/22        Computerized Legal Research - Lexis - in                 $38.90
                contract 30% discount Service: US
                TREATISES; Employee: PETREE
                NICHOLAS; Charge Type: DOC
                ACCESS; Quantity: 1.0
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09/01/22     Computerized Legal Research - Lexis - in    $221.56
             contract 30% discount Service:
             SEARCH; Employee: SALWEN
             JAMES; Charge Type: ACCESS
             CHARGE; Quantity: 3.0
09/01/22     Travel - Ground Transportation               $47.51
             VENDOR: MITCHELL P. HURLEY
             INVOICE#: 5382520409021800 DATE:
             9/2/2022
             Taxi/Car Service/Public Transport,
             09/01/22, Uber ride home from working
             on HONX., Uber
09/01/22     Travel - Ground Transportation               $40.04
             VENDOR: MITCHELL P. HURLEY
             INVOICE#: 5382520409021800 DATE:
             9/2/2022
             Taxi/Car Service/Public Transport,
             09/01/22, Uber ride home to HONX
             meeting., Uber
09/01/22     Meals - Business VENDOR:                     $58.79
             MITCHELL P. HURLEY INVOICE#:
             5382520409021905 DATE: 9/2/2022
             Dinner, 09/01/22, Dinner while working
             late on Honx., Seamless (JR Sushi),
             Mitchell Hurley
09/01/22     Computerized Legal Research - Westlaw      $2,272.18
             - in contract 30% discount User:
             CARRILLO CRAIG A Date: 9/1/2022
             AcctNumber: 1000812018 ConnectTime:
             0.0
09/02/22     Computerized Legal Research - Westlaw      $1,740.14
             - in contract 30% discount User:
             CARRILLO CRAIG A Date: 9/2/2022
             AcctNumber: 1000812018 ConnectTime:
             0.0
09/03/22     Computerized Legal Research - Lexis - in     $73.85
             contract 30% discount Service:
             SEARCH; Employee: SALWEN
             JAMES; Charge Type: ACCESS
             CHARGE; Quantity: 1.0
09/04/22     Computerized Legal Research - Westlaw       $160.43
             - in contract 30% discount User:
             PARLAR ERIN Date: 9/4/2022
             AcctNumber: 1000193694 ConnectTime:
             0.0
09/04/22     Computerized Legal Research - Courtlink     $149.88
             - In Contract 50% Discount Service:
             SEARCH; Employee: PARLAR ERIN;
             Charge Type: ACCESS CHARGE;
             Quantity: 3.0
09/06/22     Computerized Legal Research - Courtlink       $3.53
             - In Contract 50% Discount Service:
             COURTLINK DOCKET UPDATE;
             Employee: LEHRKE SARAH; Charge
             Type: DOCKET UPDATE; Quantity: 1.0
09/06/22     Computerized Legal Research - Courtlink      $21.20
             - In Contract 50% Discount Service: US
             DOCKETS; Employee: LEHRKE
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             SARAH; Charge Type: DOC ACCESS;
             Quantity: 6.0
09/06/22     Computerized Legal Research - Courtlink       $199.84
             - In Contract 50% Discount Service:
             SEARCH; Employee: LEHRKE
             SARAH; Charge Type: ACCESS
             CHARGE; Quantity: 4.0
09/08/22     Computerized Legal Research - Westlaw         $240.28
             - in contract 30% discount User:
             BELEGU MEGI Date: 9/8/2022
             AcctNumber: 1000193694 ConnectTime:
             0.0
09/12/22     Computerized Legal Research - Westlaw         $371.61
             - in contract 30% discount User:
             SLAVIN RISA Date: 9/12/2022
             AcctNumber: 1000045367 ConnectTime:
             0.0
09/13/22     Computerized Legal Research - Westlaw         $160.43
             - in contract 30% discount User:
             SLAVIN RISA Date: 9/13/2022
             AcctNumber: 1000045367 ConnectTime:
             0.0
09/13/22     Computerized Legal Research - Westlaw         $160.43
             - in contract 30% discount User: DOSS
             MALAK Date: 9/13/2022 AcctNumber:
             1000812018 ConnectTime: 0.0
09/20/22     Computerized Legal Research - Westlaw         $212.67
             - in contract 30% discount User:
             LEGGIERO ANGELINE Date:
             9/20/2022 AcctNumber: 1000193694
             ConnectTime: 0.0
09/21/22     Overtime - secretarial Carrillo - Assisting    $37.31
             with preparation of Fee Application;
             Overtime for Jennifer W. Berry-Woods
             for transaction date 09/21/2022; Overtime
             - 1x; Client: 105465; Matter: 0001
09/26/22     Computerized Legal Research - Westlaw         $160.43
             - in contract 30% discount User:
             CARRILLO CRAIG A Date: 9/26/2022
             AcctNumber: 1000812018 ConnectTime:
             0.0
09/27/22     Meals - Overtime VENDOR: TAYLOR                $21.53
             SCOTT LEIGHTON INVOICE#:
             5434753710031708 DATE: 10/3/2022
             All working late in office Meals,
             09/27/22, HONX research., Axi 9, Taylor
             Leighton
09/28/22     Computerized Legal Research - Westlaw         $638.00
             - in contract 30% discount User:
             LEGGIERO ANGELINE Date:
             9/28/2022 AcctNumber: 1000193694
             ConnectTime: 0.0
09/29/22     Computerized Legal Research - Westlaw         $160.43
             - in contract 30% discount User:
             LEIGHTON TAYLOR Date: 9/29/2022
             AcctNumber: 1000193694 ConnectTime:
             0.0
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             Current Expenses                                            $10,409.82



             Total Amount of This Invoice                              $1,045,807.32
